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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No.: 2:19-02921 JAK (ADS)                                 Date: November 22, 2021
 Title: Medina v. Pitchess Detention Center South Facility, et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                                None Reported
                Deputy Clerk                             Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
               None Present                                    None Present

 Proceedings:        (IN CHAMBERS) ORDER TO SHOW CAUSE WHY
                     SERGEANT LYNCH AND THE DOE DEFENDANTS
                     SHOULD NOT BE DISMISSED FOR FAILURE TO
                     PROSECUTE

        On May 8, 2020, Plaintiff Cesario V. Medina filed a Third Amended Complaint
 (“TAC”) asserting claims pursuant to 42 U.S.C. § 1983. (Dkt. No. 26.) In the TAC,
 Plaintiff asserts claims against, among others, Sergeant Lynch and seven DOE
 defendants. (Id. at 4-9.) On January 4, 2021, the Court authorized service of the TAC
 on Sergeant Lynch. (Dkt. No. 28.) The Court also granted Plaintiff an opportunity to
 conduct limited early discovery to obtain the identities of the DOE defendants. (Dkt.
 Nos. 31, 37.) On September 15, 2021, a Process Receipt and Return was filed showing
 that the United States Marshal Service was unable to effectuate service of the summons
 and TAC on Sergeant Lynch because he is retired. (Dkt. No. 55.) As of the date of this
 order, Plaintiff has not sought to amend the TAC to add the true names of the DOE
 defendants and has not served the summons and TAC on Sergeant Lynch or the DOE
 defendants.

         Plaintiff is hereby ordered to show cause why this case should not be dismissed
 for failure to serve a summons and TAC on Sergeant Lynch and the DOE defendants.
 Plaintiff must file a written response by no later than December 13, 2021.

       Plaintiff is expressly warned that failure to timely file a response to
 this Order to Show Cause will result in a recommendation to the District
 Judge that the above listed defendants be dismissed for failure to prosecute
 and obey court orders pursuant to Federal Rule of Civil Procedure 41(b).


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 Plaintiff is reminded that it is his responsibility to prosecute the case against all
 defendants. This includes ensuring defendants are properly served with the summons
 and complaint.

       IT IS SO ORDERED.




                                                                     Initials of Clerk kh




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